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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


          v.
                                                  No. S1 19 Cr. 725 (JPO)
LEV PARNAS,
IGOR FRUMAN, and
ANDREY KUKUSHKIN,

                     Defendants.




               MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                JOINT MOTION FOR RELIEF FROM GOVERNMENT’S
                  VIOLATION OF ATTORNEY-CLIENT PRIVILEGE,
                DEFENDANT IGOR FRUMAN’S MOTION TO SEVER and
                           MISCELLANEOUS RELIEF




                                    CADWALADER, WICKERSHAM & TAFT LLP
                                                               Todd Blanche
                                                               Sara Bussiere
                                                             Timbre Shriver
                                                          200 Liberty Street
                                                       New York, NY 10281
                                                       Tel.: (212) 504-6000
                                                       Fax: (212) 504-6666
                                                     todd.blanche@cwt.com

                                                       Attorneys for Igor Fruman
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                                PRELIMINARY STATEMENT

       This case is a stark example of the risks to the proper administration of justice when the

United States government rushes an investigation to achieve a goal other than its stated mission

to ensure fair and impartial administration of justice for all Americans. On October 9, 2019, Mr.

Fruman was arrested as he boarded an international flight after being charged in an indictment

that alleged various violations of federal campaign finance laws. At the detention hearing and in

the days that followed, the narrative advanced by the government, and echoed by the media, was

that because Mr. Fruman was flying internationally on a one-way ticket, he was a flight risk and

likely did not intend to return to the United States. That narrative is false, a fact now well-known

to the government. Mr. Fruman is a United States citizen who loves this country and who has

lived here for decades raising a family and building a successful business. The voluminous

discovery produced in this case shows no evidence to the contrary. The most that can be said is

that, like many international travelers, Mr. Fruman often traveled on a one-way ticket for cost-

savings when he did not have a confirmed return date. Regrettably, that truth is lost in the false

narrative that continues to permeate public perception, due, in no small part, to the government’s

own public statements.

       In addition to falsely labeling Mr. Fruman as a flight risk in public proceedings, the original

indictment falsely claimed in a footnote that Mr. Fruman engaged in deceptive practices such as

intentionally misspelling his last name as “Furman.” (Dkt. 1, at 8.) Save for the removal of the

offending footnote in the superseding indictment, the government has made no effort to correct

the false “flight risk” narrative pushed in the weeks after Mr. Fruman’s arrest. Moreover, the

original indictment baldly accused Mr. Fruman of being in cahoots with an unnamed “Ukrainian

Government official” to improperly attempt to influence government leaders in the United States.



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(Dkt. 1, at 5, 7–8.) Again, the government actively promoted this narrative. The day after Mr.

Fruman’s arrest, the United States Attorney for the Southern District of New York held a press

conference during which he referenced a large chart with an arrow pointing from “Ukrainian

Government Official” to Messrs. Fruman and Parnas. The United States Attorney stated that the

               defendants broke the law to gain political influence while avoiding
               disclosure of who was actually making the donations and where the
               money was coming from. They sought political influence not only
               to advance their own financial interests but to advance the political
               interests of at least one foreign official – a Ukrainian government
               official who sought the dismissal of the U.S. ambassador to Ukraine.

(Press Release, U.S. Dep’t of Justice, U.S. Attorney’s Office, Southern District of New York, Lev

Parnas And Igor Fruman Charged With Conspiring To Violate Straw And Foreign Donor Bans

(Oct. 10, 2019).) Eleven months later and after countless hours spent investigating this claim (after

it was made), the Superseding Indictment omitted any reference to any such individual—because

he (or she) does not exist. The evidence produced by the government shows nothing more than a

businessman, Mr. Fruman, who donated money to causes and candidates he believed in.

Nonetheless, the narrative that Mr. Fruman is somehow part of a scheme orchestrated by the

Ukrainian government—as opposed to a hardworking United States citizen who supported a

President disfavored by many in the media—continues to this day. Rather than affirmatively

correcting the government’s false narrative, the superseding indictment simply omits some of the

falsity that accompanied the frenzy of the original charges. While unfortunate, there is little Mr.

Fruman can do to correct past misstatements made by the government in this case.

       One grave error made by the government, however, requires correction and suppression.

As part of its rush to indict, the government knowingly used privileged communications among

the defendants and their counsel to attempt to prove the “foreign donor scheme” alleged in both

indictments. Notwithstanding long-established policies and procedures in the Southern District



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of New York for protecting the attorney-client privilege, no such protections were put in place in

this case and the prosecution has recklessly ignored and failed to remedy their improper use of

privileged communications. For this reason the indictment must be dismissed. While other

remedies such as suppression and removal of any member of the prosecution team who has

viewed the privileged communication is often appropriate, because the government repeatedly

cited a privileged communication in search warrant applications, even after knowing full-well

that the communication was protected by the attorney-client privilege, such remedies are

inappropriate in this case. For the reasons that follow, we respectfully submit that based on the

government’s knowing and illegal use of protected communications, the court should dismiss the

indictment because the process is so tainted that other remedies fail to properly hold the

government to account. In addition, Mr. Fruman seeks severance from Mr. Parnas at trial, or, in

the alternative, severance of Count Seven of the superseding indictment. Finally, Mr. Fruman

joins in all co-defendants’ motions and reserves the right to file additional motions after the

government produces additional discovery and in advance of trial.

  I.   JOINT MOTION TO DISMISS THE INDICTMENT BECAUSE OF RECKLESS
       VIOLATION OF THE ATTORNEY-CLIENT PRIVILEGE

       The defendants jointly move, for the reasons stated below, for the dismissal of the

indictment because of the gross violation of the attorney-client privilege and for any other relief

the Court determines appropriate.




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                                    FACTUAL BACKGROUND

         In 2018, Lev Parnas, Igor Fruman, David Correia,1 and Andrey Kukushkin (collectively,

the “Defendants”) formed a cannabis business (the “Cannabis Venture”).2 As is typically the

case when forming such a venture, the Defendants consulted with multiple attorneys and

advisors to ensure they were in compliance with various laws and regulations. (Lefcourt

Declaration, U.S. v. Parnas, at 2–3, ¶¶ 8, 11–12; United States v. Parnas, et al., S1 19 Cr. 725

(JPO).)3 One such advisor and potential stakeholder was                                through his role

at a business advisory company called                                 .4 As an advisor,

had responsibility for the corporate financials of the Cannabis Venture; maintained a continuous

and close working relationship with the defendants, particularly Mr. Kukushkin who would

primarily operate the business once it was running; and had been assisting in the planning of the

Cannabis Venture. (See Lefcourt Decl. at 2, ¶¶ 2–6.)

         On or about September 16, 2018, Mr. Kukushkin copied                         and

            an attorney5 working with the group, on a chain of email communications among Mr.

Kukushkin, Mr. Correia, and two                                  attorneys,                  and

           (See Lefcourt Decl. at 2–3, ¶ 9–10;                                  (hereinafter, the

“                Email”).)


1
 David Correia pled guilty to Counts Two and Seven of the Superseding Indictment on October 29, 2020,
pursuant to a plea agreement with the government.
2
    The Cannabis Venture
                                                              . See Email from Nicolas Roos, Assistant
U.S. Attorney, to Faith Friedman and Gerald Lefcourt, Counsel for Mr. Kukushkin (Apr. 29, 2020, 13:37
EST).
3
 For convenience for the Court and the parties, Mr. Fruman refers to the Declaration filed by Mr. Lefcourt,
attorney for Mr. Kukushkin for relevant factual citations.
4
                 and Mr. Kukushkin jointly operate                .              manages
financial matters. See                   .                    attorney described                    as chief
financial officer for              businesses.
5
                is admitted to practice in both California and New York.


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(See Lefcourt Decl. at 2, ¶ 8;                               .)



                                               In a later email,




                       .) Mr. Kukushkin copied                on both emails. (Id.; Lefcourt Decl. at

2–3, ¶¶ 8, 12.)

       Mr. Kukushkin,                    and                      were officers and directors of
            6
                and                served as the entity’s general counsel. (See                      )

Upon information and belief, around the same time the                         Email chain was

forwarded from Mr. Kukushkin to                      and                     there were ongoing

discussions that                   would potentially be involved in the formation of the Cannabis

Venture.

       After the original indictment in this case was filed on October 9, 2019, counsel for Mr.

Kukushkin learned that the government sought a search warrant for Mr. Kukushkin’s emails.

(See Lefcourt Decl. at 3. ¶ 14.) In response, counsel notified the government that the account

contained privileged communications and provided a list of email addresses for other attorneys

with whom Mr. Kukushkin enjoyed an attorney-client relationship. (Lefcourt Decl. at 3–4, ¶¶

14–18.) As relevant here, email addresses were provided for                         including the email




6
                        owns the facilities and land for Mr. Kukushkin’s cannabis businesses. See
                   .              is CFO. See                .



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address listed on the                     Email.7 (Lefcourt Decl. at 3, ¶12;                    Email.) In

early December, additional attorney names and email addresses were provided to the

government, including certain attorneys from                                (Lefcourt Decl. at 4, ¶ 16.)

          In January 2020, the government advised counsel for Mr. Fruman, Mr. Correia and Mr.

Kukushkin that materials Mr. Parnas was seeking to turn over to Congress as part of the

impeachment proceedings could be privileged as it related to Defendants’ legitimate cannabis

business. (Lefcourt Decl. at 4, ¶ 17.) In court, Mr. Fruman, Mr. Correia, and Mr. Kukushkin

lodged objections to Mr. Parnas’ application on that basis. (Lefcourt Decl. at 5, ¶ 19; Dkt. 80, 81,

85.) In February 2020, Mr. Kukushkin notified the government in writing that the email quoted

in the indictment was covered by joint attorney-client privilege. (Lefcourt Decl. at 5, ¶ 20.)8

The government’s response seemingly indicated that it did not know or understand the players

involved. (Lefcourt Decl. at 5, ¶ 20–22.) In particular, it would appear that the government had

not previously been aware that                        was an attorney who was working with Mr.

Kukushkin,                      and their entities9 and had been advising the group on this new

venture. (Id.)

          During this email exchange, Mr. Kukushkin’s attorney questioned the government’s use

of a “taint team” or “filter team” and the procedures in place to ensure that the government’s trial

team did not receive or review privileged communications. (Id.) The government stated, without

elaboration, that “a filter team was utilized to screen for potentially privileged communications

7
 After Mr. Kukushkin’s arrest,            assisted in preparing bail documents, and those documents—
which were provided to the government—clearly identified                as an attorney assisting with Mr.
Kukushkin’s representation.
8
  Mr. Lefcourt’s Declaration makes reference to certain communications with the prosecutors assigned to
this case. If the Court seeks the underlying emails as opposed to just references in Mr. Lefcourt’s
Declaration, they can be provided.
9
    As previously discussed, Mr. Kukushkin,                 and                were officers and directors of
                   and               served as the entity’s general counsel. See                   .


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in the returns that were obtained pursuant to all the warrants in this case, including the warrants

that were executed on email accounts pre-indictment” and asked for Defendants’ basis for

asserting attorney-client privilege. (Id.) In response, Mr. Kukushkin’s attorney requested

additional information about the taint team’s procedures and also explained the basis for

privilege. (Id.) Notably, the email pointed out that the general privilege issue had been flagged

“immediately upon learning that [Mr. Kukushkin’s] emails had been seized,” and “it was the

government who on January 21, 2020, contacted us to advise that the filter team had identified

certain correspondence that may fall within an attorney-client privilege jointly held by Mr.

Kukushkin and his codefendants.” (Id.) The government has to this point not answered additional

questions asked by counsel regarding the taint team’s procedures.

       Meanwhile, in or about March 2020, Mr.                  attorney apparently spoke with the

government and asserted attorney-client privilege with respect to the email chain. (Lefcourt

Decl. at 6, ¶ 23.) According to information provided to counsel,                  informed the

government that the email was privileged. (Id.) At the end of April 2020, the government

reached out to all Defendants, stating that




                                                                                          (Lefcourt

Decl. at 6, 24.) In response, all Defendants maintained that the emails were privileged and no

exception applied. (Id.)

                      (Lefcourt Decl. at 7, ¶ 26. ) It too asserted privilege as to communications

with the Defendants. (Lefcourt Decl. at 7, ¶ 27.) It is our understanding that neither

nor                        produced any portion of the email chain.


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          Undeterred, in or about May 2020, the government sought and obtained a search warrant

for Mr.                  emails, quoting the privileged                   Email in the affidavit asserting

probable cause. (Lefcourt Decl. at 6, ¶ 25.) The government also used the                            Email

as a basis for probable cause to obtain various other search warrants.10

          Though the government used the privileged                         Email chain extensively to

assemble its case, the Superseding Indictment returned without any mention of the

Email. (Lefcourt Decl. at 7, ¶ 28; Superseding Indictment, United States v. Parnas, et al., S1 19

Cr. 735 (JPO), Dkt. #120 [hereinafter, “Superseding Indictment”].) In October 2020, the

government took the position—in response to Defendants’ inquiry—that the email quoted in the

original indictment and produced as                                                 is not privileged

although the government does not know if it will use it at trial. (See Lefcourt Decl. at 7, ¶ 29.)

          To this point, the government appears to be taking the position that this email chain is not

privileged because either privilege was broken or it falls under an exception. (See Lefcourt Decl.

at 7, ¶ 30.) It refuses to identify, however, on what basis it asserts these claims. (See Id.) The

government’s unfounded claims ring hollow. There is no doubt that the email and all

communications surrounding the email constitute attorney-client communications and as such

the government should not have viewed the email and should not have used it repeatedly as a

basis to assert probably cause to search various email accounts and similar devices. The

defendants, therefore, jointly request that the court suppress the                       Email chain as

well as all documents seized and information obtained from those documents.


10
     See disputed warrants at



                                ; Lefcourt Decl. at 4. The materials seized from the execution of these
warrants is extensive.


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                                              ARGUMENT


       A.      The                  Email Chain Is Protected by the Attorney-Client Privilege

       Attorney-client privilege protects both a client’s disclosures to his or her attorney as well

as advice rendered by the attorney to the client, thereby encouraging “full and frank

communication between attorneys and their clients.” See Upjohn Co. v. United States, 449 U.S.

383, 390 (1981); S.E.C. v. Beacon Hill Asset Mgmt. LLC, 231 F.R.D. 134, 138 (S.D.N.Y. 2004).

Intentional intrusion into the attorney-client relationship “warrants careful scrutiny.” United

States v. Schwimmer, 924 F.2d 443, 447 (2d Cir. 1991). To establish the privilege, the proponent

must show that:

               (1) the asserted holder of the privilege is or sought to become a
               client; (2) the person to whom communication was made (a) is a
               member of the bar of a court, or his subordinate and (b) in
               connection with this communication is acting as a lawyer; (3) the
               communication relates to a fact of which the attorney was informed
               (a) by his client (b) without the presence of strangers (c) for the
               purpose of securing primarily either (i) an opinion on law or
               (ii) legal services or (iii) assistance in some legal proceeding, and
               not (d) for the purpose of committing a crime or tort; and (4) the
               privilege has been (a) claimed and (b) not waived by the client.

Beacon Hill Asset Mgmt. LLC, 231 F.R.D. at 138 (quoting Bank Brussels Lambert v. Credit

Lyonnais (Suisse) S.A., 160 F.R.D. 437, 441 (S.D.N.Y. 1995). The proponent of the privilege

carries the burden of proving each element. In re Horowitz, 482 F.2d 72, 81 (2d Cir. 1973).

       The attorney-client privilege protects the entirety of the                Email chain. First,

the Defendants at all times during the communications maintained an attorney-client relationship

with                      attorneys and, as discussed below, with                    at all times

during the communications. Second, the communications involve requests for both legal advice

and legal services. The email communications show that Defendants sought advice from

attorneys



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                       . Indeed,

                        Third, Defendants and the attorneys were engaged in these discussions

                                             , without the presence of strangers and not for the

purpose of committing a crime or tort (as discussed in greater detail below).

               1.      Defendants Did Not Waive Attorney-Client Privilege

       Once established, confidential communications remain shielded by attorney-client

privilege and, thus, undiscoverable absent a waiver from the privilege holder. Morales v.

Portuondo, 154 F. Supp. 2d 706, 730 (S.D.N.Y. 2001). “Such a waiver may be found where the

client voluntarily discloses the communications to another party, or the communications are

made in the known presence of a third party in whom the client could have no reasonable

expectation of confidentiality.” Id. at 730; see also Baptiste v. Cushman & Wakefield, Inc., 2004

WL 330235, at *2 (S.D.N.Y. Feb. 20, 2004) (“[t]he attorney-client privilege will be waived if the

holder of the privilege discloses or consents to disclosure of any significant part of the

communication to a third party or stranger to the attorney-client relationship”); In re Grand Jury

Proceedings, 2001 WL 1167497, at *7 (S.D.N.Y. Oct. 3, 2001) (“any voluntary disclosure of an

attorney-client communication to a third party for purposes inconsistent with maintaining

confidentiality waives the attorney-client privilege as to that disclosure”).

       Communications maintain privilege so long as they are not circulated beyond those

individuals with a need to know the information and who share responsibility for the subject

matter of the communication at issue. Wellnx Life Scis. Inc. v. Iovate Health Scis. Rsch. Inc., No.

06 Civ. 7785(PKC), 2007 WL 1573913, at *4 (S.D.N.Y. May 24, 2007) (internal quotations and

citation omitted). Where a consultant maintains a close working relationship with a company

and performs a similar role to that of an employee, the court has concluded that the consultant

was the functional equivalent of an employee. Twentieth Century Fox Film Corp. v. Marvel


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Enters., Inc., No. 01 Civ. 3016(AGS)(H.), 2002 WL 31556383, at *2 (S.D.N.Y. Nov. 15, 2002).

Thus, confidential communications made to the consultant for the purpose of obtaining or

providing legal advice are subject to the attorney-client privilege. Id.; see also Exp.-Imp. Bank of

the U.S. v. Asia Pulp & Paper Co., 232 F.R.D. 103, 113 (S.D.N.Y. 2005) (stating that

“communications between a company’s lawyers and its independent contractor merit protection

if, by virtue of assuming the functions and duties of [a] full-time employee, the contractor is a de

facto employee of the company”); In re Copper Mkt. Antitrust Litigation, 200 F.R.D. 213, 216

(S.D.N.Y. 2001) (concluding that attorney-client privilege was not waived by including the

client’s PR firm on otherwise privileged emails because the PR firm was “essentially[ ]

incorporated into [the company's] staff to perform a corporate function that was necessary . . . at

the time”). One court set forth a three-party inquiry to determine whether to consider a

consultant the functional equivalent of an employee:

               [1] whether the consultant had primary responsibility for a key
               corporate job, [2] whether there was a continuous and close working
               relationship between the consultant and the company's principals on
               matters critical to the company's position in litigation, and
               [3] whether the consultant is likely to possess information possessed
               by no one else at the company[.]”

Exp.-Imp. Bank of the U.S., 232 F.R.D. at 113 (internal quotation marks omitted).

       However, in NXIVM Corp. v. O'Hara, 241 F.R.D. 109, 139 (N.D.N.Y. 2007), the court

did not apply such a rigid test. Instead, it concluded that sharing documents protected by

attorney-client privilege with a third party did not waive the privilege because the third party was

               not some mere or informal advisor, he [was] the quintessential
               insider of this business on every aspect confronting it. Any
               disclosure to [the third party] was consistent with maintaining
               secrecy and at the time the [privileged document] was shared with
               him it was not meant to get into the hands of an adversary. . . . All
               of this information was being shared with him for his benefit as well.
               Thus, the lack of title or being relegated to a volunteer status does



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                  not in and of themselves offend the protection afforded the
                  documents nor create a waiver.
Id.

          Attorney-client privilege was not waived when Defendants forwarded the

Email chain to                     and                because both                  and

were essential parties in the Cannabis Venture. Evidence produced in discovery makes plain that

Mr. Kukushkin works extensively with                        on multiple cannabis business ventures,

and                      has continuously provided legal advice to the Defendants in the course of

forming the Cannabis Venture. In fact,                      dealt with the financial aspects11 of Mr.

Kukushkin’s other cannabis businesses and was advising the Defendants on the financial aspects

of their Cannabis Venture. Indeed, according to                         attorney,                serves a

chief financial officer to                     businesses. The Cannabis Venture was another of Mr.

               businesses, or at least that was the intention. Applying the test articulated in Exp.-

Imp. Bank of the U.S., (1)                    had primary responsibility for the corporate financials of

the Cannabis Venture, (2)                     had a continuous and close working relationship with

the defendants, particularly Mr. Kukushkin, who would primarily operate the business once it

was running, and (3) as the primary consultant on corporate financials,                       was best

positioned to answer questions                                                            . See 232

F.R.D. at 113. Having engaged in multiple cannabis-related businesses in the past,

served as the ideal candidate to coordinate the Cannabis Venture’s financials and make key

business decisions. Thus,                     functioned in a similar capacity to that of the advisor in

NXIVM Corp.—he was a necessary insider and the lack of a formal title within the budding

business venture does not diminish his pivotal role within the company.




11
     See supra note 9.               is the CFO of                Id.


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        B.      Dismissal of the Indictment is the Appropriate Remedy

        The Southern District of New York has long-established rigorous policies designed to

guarantee “privilege, Fifth Amendment and Sixth Amendment concerns” that include filter

teams.12 The policy is designed to prevent exactly what happened here—trial teams improperly

obtaining access to and use of potentially privileged material, thus tainting the trial team and

their prosecution. See United States v. Kaplan, No. 02 CR. 883 (DAB), 2003 WL 22880914, at

*12 (S.D.N.Y. Dec. 5, 2003) To be sure, the same Unit that is in charge of this prosecution

recently assured a different federal judge in the Southern District of New York that its filter

procedures would prevent the trial team from viewing potentially privileged materials. “To be

clear, under no circumstances will a potentially privileged document or a document potentially

subject to the crime-fraud exception be provided to or described to the Investigative Team

without the consent of the privilege holder or his/her counsel, or the court’s approval.” Cohen v.

United States, C.A. No. 18-mj-03161-KMW, Gov. Opp. to Cohn TRO, Dkt. 1, at 7 (S.D.N.Y.

Apr. 13, 2018). In that case, the seized materials were from an attorney’s office. Similar to the

materials seized in this case, however, the government believed that the seized materials

contained a “low volume of potentially privileged communications.” Id. at 1. In that case, the

government properly recognized the importance of protecting privileged communications from

the trial team’s view, and described “rigorous protocols” whereby a filter team comprised of

prosecutors not otherwise associated with the case itself would review the relevant materials and

withhold communications that were potentially privileged. Id. The prosecution in this case

should have followed the same procedure here. They did not.




12
  See https://www.justice.gov/sites/default/files/usao/pages/attachments/2015/04/01/-
nys_discovery_policy.pdf.


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       The example above is probative when compared to what has happened in this case.

Although the government has made repeated references to a filter team who purportedly

reviewed potentially privileged material, it does not appear that the filter team complied with the

government’s own policies when it comes to protecting privileged material. Even more

troublesome is the fact that the defense counsel repeatedly alerted the government to the fact that

the communications the trial team was relying on were privileged communications and should

not be used. The government—undeterred in its efforts to use the protected communication—

continued to use the privileged material to seek warrants to search additional devices and email

accounts. Even today the government has failed to claim the basis to which it believes the email

is not privileged and has stated that it does not know whether it intends to use the privileged

communication at trial.

       Unfortunately, unlike in other cases, the prosecution has been anything but transparent

about the filter team procedures followed here; defense counsel have had limited visibility into

what procedures followed, which suggests that the government did not follow its own “rigorous”

procedures because at the very least the filter team should have communicated with defense

counsel prior to giving the trial team access to the communication. The communication from the

filter team should have inquired whether the defendants intended to assert privilege over the

communication and if a dispute remained, such a dispute should have been limited before this

Court—before the trial team accessed the communication. That did not happen. The Court

cannot un-ring this bell, and therefore, the only remedy is dismissal of the superseding

indictment, as the entire process has been tainted by the conduct of the government. The existing

trial team and investigators reviewed a privileged communication, and relied on that

communication to further the entire investigation leading to the superseding indictment. For




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these reasons, the Court should dismiss the indictment for a gross violation of the defendants’

attorney-client privilege.

        C.      Suppression Is Required

        Absent dismissing of the superseding indictment in its entirety, all evidence seized from

the improper use of the privileged communication should be suppressed. When an affiant

deliberately or recklessly disregards the truth in a warrant application and where the

application’s “remaining content is insufficient to establish probable cause, the search warrant

must be voided and the fruits of the search excluded to the same extent as if probable cause was

lacking on the face of the affidavit.”13 Franks v. Delaware, 438 U.S. 154, 156 (1978); see also

United States v. Canfield, 212 F.3d 713, 718 (2d Cir. 2000). The court may hold a Franks

hearing based upon a “substantial preliminary showing” by defendant that the affiant knew the

truth and either recklessly or intentionally disregarded it by making a false statement in his or her

affidavit and that the false statement was “necessary to the finding of probable cause.” Rivera v.

United States, 928 F.2d 592, 604 (2d Cir. 1991). Similarly, courts have found that intentional or

reckless omissions may provide a basis for a Franks challenge; thus, it follows that intentional or

reckless inclusions may also provide a basis for a Franks challenge. Id.; see also United States v.

Gordon, 346 F. Supp. 3d 999, 1011–12 (E.D. Mich. 2018) (holding that the government cannot

use illegally obtained evidence to establish probable cause for a search warrant).

        After the court concludes that the statement was intentionally or recklessly omitted—or,

in this case, included—the inquiry turns to “whether, after putting aside erroneous information


13
  “The ‘good faith’ exception to the exclusionary rule permits the admission of evidence, though probable
cause is lacking, when an officer acting with objective good faith has obtained a search warrant from a
judge or magistrate and acted within its scope. However, this exception does not apply where . . . the
magistrate was misled by information the affiant knew was false. . . .” United States v. Guzman, No. S5 97
CR 786 (SAS), 1998 WL 61850, at *4 (S.D.N.Y. Feb. 13, 1998) (citing United States v. Leon, 468 U.S.
897, 920 (1987)) (internal quotation marks omitted).


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and correcting material omissions, there remains a residue of independent and lawful information

sufficient to support a finding of probable cause or necessity.” United States v. Rajaratnam, 719

F.3d 139, 146 (2d Cir. 2013) (internal quotations omitted); see also United States v. Williams,

656 F. App’x 751, 753–54 (6th Cir. 2016) (concluding that courts must excise illegally obtained

information from the affidavit and then decide whether the remaining legally obtained

information sufficiently supports a finding of probable cause to search). With respect to this

inquiry, the burden of proof shifts to the government. See Franks, 438 U.S. at 156.

                  1.   The Affiant       Recklessly    or   Intentionally   Included     Privileged
                       Information

       Despite the government’s knowledge that the                    Email chain in question was

either privileged or potentially privileged, it intentionally or recklessly included communications

from the emails in its affidavit, and those privileged communications were necessary to the

finding of probable cause. It should have been obvious from the contents of the

Email chain itself that they were privileged. In addition to the                      attorneys,

            an attorney registered to practice in New York, no less—was one of the recipients of

the email. In any event, the government was made aware that there were multiple attorneys

included in the                Email chain. Thus, the emails containing                   should

have been flagged immediately and separately reviewed by a taint team so that the prosecutors

and agents assigned to this case were shielded from obviously privileged communications.

Moreover, the Defendants lodged numerous timely objections to the government’s use of the

privileged emails. Nevertheless, the government recklessly continued to rely upon and use the

privileged communication to build its case against the Defendants. At every turn, every person

involved in the communication, including the attorneys themselves, insisted that the

communications were protected by the attorney-client privilege. Faced with this obstacle, the



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government continued to use the                   Email and potentially other emails as it built its

case against the Defendants.

       Here, the government used communications it was not authorized to have in its

possession. This is akin to using illegally seized materials to establish probable cause for a search

warrant. See Gordon, 346 F. Supp. 3d at 1011–12. In Gordon, the court held that the

government could not use evidence it illegally seized to establish probable cause for a search

warrant and, thus, ordered suppression of all evidence seized pursuant to the invalid search

warrant. Id.

       It is of no consequence that the government lawfully seized the privileged

Email chain, because the very purpose of a taint team is to avoid situations such as this where

properly seized evidence contains otherwise protected information that the trial team should not

have access to as they build their investigation. In most cases, and in this case at least to some

extent, a taint team segregates emails that are not privileged from those that are privileged and

turns potentially privileged documents over to the defendant to allow an opportunity to assert

privilege. See United States v. Levin, No. 15 Cr. 101 (KBF), 2015 WL 5838579, *1 (S.D.N.Y.

Oct. 5, 2015); United States v. Grant, No. 04 CR 207BSJ, 2004 WL 1171258, at *3 (S.D.N.Y.

May 25, 2004) (denying defendant’s motion to appoint a special master or judge and, instead,

allowing the government’s taint team to conduct the initial privilege review); see also Kaplan,

2003 WL 22880914, at *12 (“this Opinion should be counted among those disapproving the

government’s use of an ethical wall team to ‘protect’ the attorney-client and work-product

privileges or to determine whether the crime-fraud exception applies, where potentially

privileged materials are turned over to the trial team and case agents before any challenge to

those determinations can be raised by a Defendant and determined by a court”). If the taint team

believes an exception applies or privilege has been waived for a certain document, the proper


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procedure is to request an in camera review by the court or otherwise allow the defendant an

opportunity to assert that the document is protected by attorney-client privilege. See Kaplan,

2003 WL 22880914, at *11.

          The Defendants have not been provided with that opportunity nor are they aware of in

camera review relating to the                   Email. Rather, it appears the government recklessly

violated the attorney-client privilege, repeatedly and cavalierly using privileged communications

even after being told by the Defendants that the email was privileged. At the very least, the

                  Email and any other email or communication associated with the Cannabis

Venture where attorneys were involved should be suppressed. United States v. SDI Future

Health, Inc., 464 F. Supp. 2d 1027, 1047 (D. Nev. 2006). In this case, however, because the

privileged communications were used in numerous search warrant affidavits to establish

probable cause, the only appropriate remedy is to suppress all of the evidence obtained from

these search warrants.

                  2.      The Government Cannot Show That the Affidavit, Excluding the
                          Privileged Material, Establishes Probable Cause for the Warrants
                          Issued

          The improper inclusion of privileged materials was necessary to the finding of probable

cause in all of the search warrants that relied on the                Email. It is clear that, without

the                    Email, probable cause lacked. See Rajaratnam, 719 F.3d at 146; Williams, 656

F. App’x at 753–54. Beginning with the search warrant affidavit submitted on October 9, 2019,14

the government used the                    Email to link               to the Cannabis Venture.

Without the illegal use of the                  Email, it is difficult to imagine how the government

could have established probable cause to search for materials concerning the Cannabis Venture,



14
     Supra, note 10.


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an otherwise lawful business effort. After procuring the invalid October 9, 2019 search warrant,

the government moved forward undeterred and applied for additional search warrants using both

the                 Email chain and the materials unlawfully obtained through the invalid October

9, 2019 search warrant. This pattern of improper conduct continued over and over, with the

government repeatedly relying on the                   Email chain and unlawfully seized materials

resulting from the government’s impermissible use of privileged communications. If the Court

removes the                  Email and all that it entails from the original and subsequent search

warrant applications, there is not probable cause because there is no link between the Defendants

and the other individuals that the government ultimately searched.15

               3.      The Exclusionary Rule Requires Suppression

       The Court should suppress the                    Email chain, and all that flowed from it.

“The exclusionary prohibition extends as well to the indirect as the direct products of . . .

invasions [of the Fourth Amendment].” Wong Sun v. United States, 371 U.S. 471, 484 (1963);

United States v. Vilar, No. S305CR621KMK, 2007 WL 1075041, at *59 (S.D.N.Y. Apr. 4,

2007). As established above, the use of an invalid warrant constitutes an invasion of an

individual’s Fourth Amendment rights. See Franks, 438 U.S. at 156. Though the defendant

shoulders the initial burden of proving the nexus between the government’s illegal conduct and

the challenged evidence, the “[g]overnment bears the burden of proving that illegally obtained

evidence is not fruit of the poisonous tree.” Vilar, 2007 WL 1075041, at *59. In Vilar, the court

concluded that the defendants had failed to identify “the fruits” or “the poisonous tree” and, thus,

failed to meet their burden. Id. In the present case, the poisonous tree is clear, as are the fruits—




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all material seized pursuant to the invalid search warrants are the fruits of the privileged

       Email.16

        The government’s conduct prejudiced the Defendants and was “manifestly and avowedly

corrupt.” See Schwimmer, 924 F.2d at 447. If courts sanctioned such conduct, the government

could, in bad faith, build its case using privileged information and then argue that, because it

believed the defendant’s argument asserting privilege was incorrect, it did not need a hearing to

proceed—thus, allowing the government to act as both prosecutor and judge. Allowing such

egregious conduct would undermine the sanctity of attorney-client privilege and chill full and

frank communication between attorneys and clients. See Upjohn Co., 449 U.S. at 389. For these

reasons, the Court should sanction the government for repeatedly using the                      Email

chain knowing it was a privileged communication by suppressing any and all evidence seized

using the                 Email.17

 II.    SEVERANCE AND IMPROPER JOINDER

        Defendant Igor Fruman respectfully moves the Court to sever Mr. Parnas from Mr.

Fruman’s trial and, in the alternative, to sever Count Seven and any evidence underlying the

charges in Count Seven from Mr. Fruman’s trial.




16
  Defendants recognize that they may not have standing to challenge the warrants executed against non-
defendants; however, they maintain that they had a reasonable expectation of privacy in the email
communications and chats seized by the government. United States v. Riquelmy, 572 F.2d 947, 950 (2d Cir.
1978); see also United States v. DiTomasso, 56 F. Supp. 3d 584, 591 (S.D.N.Y. 2014) (concluding that
defendant had a reasonable expectation of privacy in his email communications and private chats).
17
  Other remedies are also appropriate. For example, the case agents and trial team that have been made
aware and viewed the privileged communications should be removed from the case and replaced with
prosecutors and agents that have not been tainted. Moreover, if the grand jury was shown copies of the
privileged communications, the government should be required to re-present the evidence to a new grand
jury that has not been tainted by the improper use of privileged communications.



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                                          BACKGROUND

          In October 2019, United States Attorney for the Southern District of New York charged

Lev Parnas, Igor Fruman, David Correia,18 and Andrey Kukushkin in a four-count indictment

alleging violations of campaign finance laws. See, Sealed Indictment, United States v. Parnas, et

al., S1 19 Cr. 735 (JPO), Dkt. #1.

          Some eleven months later, in September 2020, the United States Attorney announced the

Superseding Indictment which includes, as relevant here, a new charge based on completely

unrelated conduct purportedly committed by Messrs. Parnas and Correia (the “Fraud Scheme”).

Superseding Indictment, United States v. Parnas, et al., S1 19 Cr. 735 (JPO), Dkt. #120. Count

Seven charges Messrs. Parnas and Correia with conspiracy to commit wire fraud by inducing

victims to invest in a venture called “Fraud Guarantee.” Id. at 15–23. According to the

Superseding Indictment, Messrs. Parnas and Correia misrepresented to investors that Fraud

Guarantee was a start-up company intended to insure policyholders against corporate fraud. Id. at

16. The Superseding Indictment alleges that victims invested over $2 million. Id. at 15.

However, the Superseding Indictment claims that Fraud Guarantee failed to become operational,

and Messrs. Parnas and Correia spent a majority of the investors’ money on personal expenses,

including personal rent, luxury car leases, withdrawals of cash, and one political contribution of

$50,000. Id. at 16, 17, 22. Notably, there is no suggestion that Mr. Fruman had any involvement

with Fraud Guarantee or the charges associated with Count Seven, nor is there any suggestion

that the conduct charged in Count Seven is related to Counts One through Six (the “Straw Donor

Scheme” and the “Foreign National Donor Scheme”).

          For obvious reasons, the risks of spillover prejudices arising from the Fraud Guarantee

evidence is extremely high, especially as it relates to Mr. Fruman. During the pendency of this


18
     Supra note 1.


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action, the media has consistently referred to Messrs. Parnas and Fruman, collectively, as

“[Rudy] Giuliani Associates.”19 Mr. Parnas has gained significant attention as “Giuliani’s

Ukrainian Middleman”20 and has made multiple television appearances discussing his

involvement in an unrelated Congressional investigation of President Donald Trump.21

Moreover, in January 2020, Mr. Fruman learned that Mr. Parnas had produced, or was in the

process of producing, potentially privileged information belonging to Mr. Fruman to the House

Permanent Select Committee on Intelligence.22 For better or worse, the media has paired

Messrs. Fruman and Parnas together, even though they are far apart, both in their strategy for

defending this case and in the conduct alleged by the Superseding Indictment as it relates to

Count Seven. There is no curative instruction or other means of fairly separating Mr. Fruman

from Mr. Parnas in a trial that will involve multiple emails, text messages, and testimony that

will show that Mr. Fruman and Mr. Parnas were close business associates for many years. Mr.

Fruman, however, was not involved in Fraud Guarantee, but the spillover prejudice he will suffer



19
   Rebecca Davis O’Brien, Giuliani Associates Face New Federal Criminal Charges, WSJ, Sept. 17,
2020, https://www.wsj.com/articles/giuliani-associates-face-new-federal-criminal-charges-11600383496;
Jonathan Stempel, Guilty Plea Entered in U.S. Case Linked to Former Giuliani Associates, REUTERS,
Oct. 29, 2020, https://www.reuters.com/article/us-usa-trump-giuliani/guilty-plea-entered-in-u-s-case-
linked-to-former-giuliani-associates-idUSKBN27E2B6; William K. Rashbaum and Ben Protess, Lev
Parnas, Giuliani Associate, Faces New Fraud Charges, N.Y. TIMES, Sept. 17, 2020,
https://www.nytimes.com/2020/09/17/nyregion/lev-parnas-charged.html.
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  Katelyn Polantz and Michael Warren, Connected By Subpoenas: Giuliani and His Ukrainian
Middleman Lev Parnas Face Increased Scrutiny, CNN POLITICS, Oct. 1, 2019,
https://www.cnn.com/2019/10/01/politics/giuliani-parnas-ukraine-subpoena/index.html.
21
  Including appearances on the Rachel Maddow Show and Anderson Cooper 360. Allan Smith, Key
Things We Learned From Lev Parnas' Revealing MSNBC Interview,
https://www.nbcnews.com/politics/trump-impeachment-inquiry/key-things-we-learned-lev-parnas-
revealing-msnbc-interview-n1116931; Anderson Cooper 360: Part 1 of Anderson Cooper’s Interview
with Lev Parnas, Jan. 17, 2020, https://www.msn.com/en-us/news/politics/part-2-of-anderson-coopers-
interview-with-lev-parnas/vi-BBZ2pUa; Anderson Cooper 360: Part 2 of Anderson Cooper’s Interview
with Lev Parnas, Jan. 17, 2020, https://www.cnn.com/videos/politics/2020/01/17/lev-parnas-ukraine-
trump-yovanovitch-ac360-part-2-vpx.cnn.
22
     T. Blanche Letter to J. Oetken, United States v. Parnas, et al., S1 19 Cr. 725 (JPO) (Jan. 22, 2020).


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if the government is permitted to introduce evidence of that separate and unrelated scheme at the

same trial that is otherwise simply a series of allegations involving campaign finance laws will

no doubt result in an unfair and unconstitutional trial for Mr. Fruman.

       A.      Severance, Generally

       Federal Rule of Criminal Procedure 8(b) permits joinder when the alleged criminal acts

of each defendant arise from either (1) a “substantial identity of facts or participants,” or (2) a

common plan or scheme. United States v. Rogiers, No. 17-CR-503 (AJN), 2018 WL 3471812, at

*1 (S.D.N.Y. July 5, 2018). While joinder may be proper if one offense depends on the

commission of another, or evidence of one offense constitutes or depends on evidence of

another, United States v. DiScala, No. 14-CR-399 (ENV), 2018 WL 1187394, at *19 (E.D.N.Y.

Mar. 6, 2018), “two separate transactions do not constitute a series within the meaning of Federal

Criminal Rule of Criminal Procedure 8(b) merely because they are of a similar character or

involve one or more common participants.” United States v. Lech, 161 F.R.D. 255, 256

(S.D.N.Y. 1995). Courts have established a preference for a joint trial where defendants were

indicted together; however, “unless the standards set out in Rule 8(b) are met, a motion for

severance should be granted even absent a showing of prejudice.” Id. at *2.

       The Court may also exercise its discretion to order severance where joinder prejudices

one or more of the defendants under Federal Rule of Criminal Procedure 14. Rogiers, 2018 WL

3471812, at *3. In fact, the United States Supreme Court has ruled that Rule 14 requires

severance when there exists a serious risk that a joint trial would compromise a specific trial

right of one of the defendants, or prevent the jury from making a reliable judgment of guilt or

innocence. Zafiro v. United States, 506 U.S. 534, 539 (1993). Indeed, “[t]here are, of course,

cases in which the sheer volume and magnitude of the evidence against one defendant so dwarfs




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the proof presented against his co-defendant that a severance is required to prevent unacceptable

spillover prejudice.” United States v. Spinelli, 352 F.3d 48, 55 (2d Cir. 2003).

       B.      Severance of Defendants

       The Court should sever the trials of Mr. Fruman and Mr. Parnas because a joint trial will

unfairly prejudice Mr. Fruman and preclude him from a fair trial. Courts have recognized that a

joint trial may precipitate prejudice if the quality and quantity of evidence against one defendant

would spill over to the co-defendants, United States v. Cambindo-Valencia, 609 F.2d 603, 629

(2d Cir. 1979), or the evidence against one defendant increases the possibility that the jury will

infer one defendant's guilt based on the “enhanced likelihood of the guilt of the other defendant.”

United States v. Figueroa, 618 F.2d 934, 946 (2d Cir. 1980); see also United States v. Davis, No.

17 CR. 610 (LGS), 2018 WL 4373998 *4 (S.D.N.Y. 2018) (granting a motion to sever one of the

defendants from defendants charged with violent acts, reasoning that there would be a substantial

risk of prejudice if evidence of the violent acts were admitted against a defendant who was not

charged with involvement in the violent acts); United States v. Barnes, No. S9 04 Civ. 186

(SCR), 2008 WL 239408 at *1 (S.D.N.Y. 2008) (concluding that severance was warranted for a

defendant who was not eligible for the death penalty).

       In United States v. Menashe, 741 F. Supp. 1135, 1138 (S.D.N.Y. 1990), the court granted

severance of a count in which only one of the defendants participated. The court then severed the

non-moving defendant from the indictment entirely, concluding that severance was necessary in

order to preserve judicial resources and prevent undue prejudice to the other two defendants. Id.

In that case, three defendants were joined in a single indictment charging all three with count one

—conspiring to sell old cargo planes, and charging only one of the defendants with count two—

conspiring with two unindicted co-conspirators to sell anti-aircraft missiles. Id. at 1136. In

granting the motion to sever the counts, the court agreed with defendants that evidence


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concerning count two would be prejudicial to other defendants because, while “conspiring to sell

old cargo planes [is] hardly . . . inflammatory,” count two involved inflammatory evidence that

would possibly prejudice the other two defendants. Id. at 1138; see also Davis, 2018 WL

4373998, at *4. The court then considered that, under Federal Rule of Evidence 404(b), the

inflammatory evidence of count two would be admissible against the non-moving defendant at

the trial for count one; thus, the court deemed it necessary to sever the non-moving defendant

from the trial of the other defendants to avoid undue prejudice and waste of judicial resources.

Menashe, 471 F. Supp. at 1138–39.

       The inflammatory evidence showing that Mr. Parnas essentially engaged in a Ponzi

scheme coupled with Mr. Parnas’s public persona weigh in favor of trying Mr. Parnas separately

from Mr. Fruman. Like the evidence to support count two in Menashe, the evidence to support

Count Seven in the present case is inflammatory and, as discussed above, would prejudice Mr.

Fruman. Yet, just as in Menashe, severance of the counts would not prevent the admission of

evidence of the Fraud Scheme against Mr. Parnas under Fed. R. Evid. 404(b). Evidence of the

Fraud Scheme potentially introduced against Mr. Parnas to show, inter alia, intent, plan, or

modus operandi would prejudice Mr. Fruman, particularly in light of evidence that Mr. Parnas

and Mr. Fruman were engaged in other joint business ventures, including those alleged in Counts

One through Six. In reality, Mr. Fruman believed that he and Mr. Parnas were operating

legitimate businesses and were operating within the law when they made certain campaign

contributions. If the jury hears evidence that Mr. Parnas was engaged in a scheme to defraud

investors, it is highly likely they will conclude that both Mr. Parnas and Mr. Fruman had the

requisite intent to violate campaign finance laws. The spillover prejudice of the Fraud Scheme

will make it impossible for Mr. Fruman to receive a fair trial.




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        Moreover, Mr. Parnas has already begun trying this case in the court of public opinion

and has gained a great deal of attention in the media through his efforts. In so doing, he has

become the face of the indictment and was described in the news as “Rudy Guiliani’s Ukrainian

Middleman,” while Mr. Parnas and Mr. Fruman have, collectively, been repeatedly referred to as

“Giuliani’s Associates.” In his quest to spin his version of what happened to the public, he has

increased attention surrounding the conduct charged in the Superseding Indictment and blurred

the lines between the narrow campaign finance charges in the Superseding Indictment and

unrelated media inquiries regarding Mr. Parnas’s relationship with President Trump and other

well-known political figures. Some media outlets have already confused facts to the detriment of

Mr. Fruman. In a recent Twitter post by the London Times, it incorrectly stated that “both

Parnas and Fruman have since been charged with wire fraud.”23 Although it should be expected

that the media will make efforts to report the news accurately, it is no surprise that Mr. Fruman is

linked to Mr. Parnas given their business dealings. No curative instruction can separate them

and the result, unfortunately, will be that Mr. Fruman will not be judged based on the evidence in

Counts One through Six, but he will be judged by the jury based upon the evidence of fraud and

deception that comprise Count Seven even though he was not involved and never has been

involved in the conduct underlying the Fraud Scheme.24

        Accordingly, the vast amount of evidence demonstrating Mr. Parnas’s intent, the

antagonistic nature of Mr. Fruman’s and Mr. Parnas’s defenses, and Mr. Parnas’s public persona



23
  “Both Parnas and Fruman have since been charged with wire fraud and attempting to use Fraud
Guarantee as a conduit to direct money from a foreign government to U.S. politicians in relation to
Ukraine.” The Times (@thetimes), TWITTER (Nov. 10, 2020, 11:41 AM),
https://twitter.com/thetimes/status/1326203260076777472?s=20.
24
  Mr. Parnas has also either engaged in antagonistic behavior against Mr. Fruman or with blatant disregard
toward Mr. Fruman’s defense. This is best demonstrated by his production of potentially privileged
documents belonging to Mr. Fruman.


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would prevent the jury from making a reliable judgment on Mr. Fruman’s innocence; thus, the

Court should exercise its discretion under Rule 14 to sever the defendants.

       C.      Improper Joinder of Count Seven

       If the Court does not sever the trials for Mr. Parnas and Mr. Fruman, then the Court

should find joinder of Count Seven improper and, thus, sever Count Seven from the trial of

Counts One through Six. Courts have found joinder improper when there exists no colorable

argument that both conspiracies allegedly arose from a single, overarching scheme without

common identity of participants. United States v. Kouzmine, 921 F. Supp. 1131, 1133 (S.D.N.Y.

1996); see also Lech, 161 F.R.D. 255 (finding joinder of three similar but separate conspiracies

improper notwithstanding the presence of a common defendant and similar objectives because

there was no suggestion that the moving defendant knew of or participated in the schemes other

than the one with which he was charged). In Kouzmine, the court granted defendants’ motion to

sever counts stemming from one conspiracy from counts stemming from a second conspiracy

because the two conspiracies lacked an overarching scheme and common participants. Id. In so

doing, the court acknowledged that, while each conspiracy involved two of the same defendants

and the second conspiracy may have “arose in consequence of [the two defendants’] falling out

with [the third],” there was no common purpose or evidence that the defendants participated in

all of the schemes alleged. Id. at 1133–34.

       In its decision in United States v. Greenfield, No. 01 CR 401 (AGS), 2001 WL 1230538,

at *3 (S.D.N.Y. Oct. 16, 2001), the court applied Kouzmine and Lech to find joinder improper

because “there was some overlap among the alleged conspiracies, but no unifying purpose.”

Notably, it reasoned that the indictment did not allege that the moving defendant even knew of

the conspiracy. Id. Similarly, in United States v. Yaron, No. S2-10-CR-363 GBD, 2011 WL

3279054, at *1–*2 (S.D.N.Y. July 28, 2011), the court severed two conspiracy counts alleging


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fraud in contracting, because “the Superseding Indictment fail[ed] to establish a ‘key link’

between the Asbestos/Construction and HVAC conspiracies sufficiently indicating that ‘one

scheme stemmed from the other’ or that they were ‘part and parcel’ of each other.” Id. at *9.

Further, the court in United States v. Rajaratnam, 753 F. Supp. 2d 299, 308 (S.D.N.Y. 2010),

granted a motion to sever counts when one of the defendants planned both schemes, but the

moving defendant participated in only one of the schemes, and a common plan did not exist.

       The Superseding Indictment does not allege that Mr. Fruman took part in or even knew of

the Fraud Scheme, that any of the facts underlying any of the first six counts also support Count

Seven, or that Count Seven relates in any manner to the other counts. Thus, joinder was improper

under Rule 8(b), and Count Seven should be severed. Similar to the circumstances in the above-

cited cases, the Superseding Indictment here does not indicate the existence of an overarching

scheme or a common identity of participants. In fact, the Superseding Indictment organizes each

of the seven counts according to the alleged overarching scheme to which they are related.

While Counts One through Six “incorporate the allegations contained in paragraphs 1 through

12”—the allegations underlying the alleged Campaign Finance Schemes—Count Seven stands

on only the allegations specific to the Fraud Scheme. Thus, while all other counts depend on

proof of the alleged Campaign Finance Scheme, Count Seven stands independently and, just as

proof of Counts One through Six would not prove the government’s case for Count Seven, proof

of Count Seven would not prove the government’s case for Counts One through Six. In

Kouzmine, Lech, and Greenfield, the court ruled that joinder was improper even though one of

the conspiracies may have arisen in consequence of another (Kouzmine), the conspiracies were

similar (Lech), or there existed some overlap between conspiracies (Greenfield). Here, no such

similarity, cause and effect, or overlap exist, providing additional reason for the court to find

joinder improper. Accordingly, because the Superseding Indictment failed to establish a key link


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between the alleged Fraud Scheme and Campaign Finance Scheme, severance is warranted. See

Yaron, 2011 WL 3279054, at *1.

       Even if the court determines that joinder is proper under Rule 8(b), severance under Rule

14 is warranted because joinder of Count Seven lacks any relation to the other counts; thus, it

would serve only to prejudice the jury against Mr. Fruman. Proof of Count Seven apparently

involves inflammatory evidence that Mr. Parnas engaged in a Ponzi scheme with the intent to

defraud investors by inducing them to invest in a company that never came to fruition. In so

doing, he ultimately stole and spent their money on personal extravagances. For Counts One

through Six, the jury will hear that Mr. Parnas and Mr. Fruman were business partners, allegedly

engaged in a joint venture to gain political influence to bolster their otherwise lawful businesses.

However, Mr. Fruman was not involved in the Fraud Scheme, and the Superseding Indictment

does not allege that he even had knowledge of the scheme. Thus, trying Count Seven in the

same proceeding carries the risk of confusing the issues and misleading the jury.

III.   MISCELLANEOUS RELIEF

       In addition to the relief sought above, Mr. Fruman also respectfully joins in the motions

filed by all defendants in this case, to the extent not adverse to our own. Mr. Fruman also

respectfully requests leave to file additional motions as he continues to review discovery and

after additional expected discovery is produced, as well as motions in limine in advance of trial

at a schedule to be determined by the Court after a trial date is confirmed.

                                         CONCLUSION

       For the foregoing reasons, the Defendants respectfully request that the Court suppress the

               Email chain as well as all documents seized and information obtained from those

documents, and Mr. Fruman’s respectfully requests that the Court grant his motion to sever.




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Dated: December 1, 2020            Respectfully submitted,

                                   CADWALADER, WICKERSHAM & TAFT LLP


                                   By:     /s/ Todd Blanche

                                         Todd Blanche
                                         Sara Bussiere
                                         Timbre Shriver
                                         200 Liberty Street
                                         New York, NY 10281
                                         Tel.: (212) 504-6000
                                         Fax: (212) 504-6666
                                         todd.blanche@cwt.com
                                         sara.bussiere@cwt.com
                                         timbre.shriver@cwt.com
                                         Attorneys for Defendants




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